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                            UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TEXAS
                                TEXARKANA DIVISION


   JUAN LOZADA-LEONI,                      §
                                           §
               Plaintiff,                  §
                                           §
   v.                                      §
                                           §   Civil Action No. 5:19-cv-00011-RWS-CMC
   MONEYGRAM INTERNATIONAL,                §
   INC., JUAN MANUEL GONZALEZ and          §
   CHRISTOPHER PONDER in their             §
   official and individual capacities,     §
                                           §
               Defendants.                 §

              DEFENDANT MONEYGRAM PAYMENT SYSTEMS, INC.’S
                 REPLY IN SUPPORT OF ITS MOTION TO DISMISS



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           DEFENDANT MSPI’S REPLY IN SUPPORT OF ITS MOTION TO DISMISS

           Defendant MPSI1 files its Reply in Support of its Motion to Dismiss (“Motion”) [doc. 23]

   and states:

                               PROCEDURAL RECAP AND OVERVIEW

           1.       As the case currently stands, Plaintiff’s live pleading is his Second Amended

   Complaint [Doc. 21], and MGI and MPSI are the only two defendants. MGI filed its Motion to

   Dismiss for Improper Venue, or Alternatively, Motion to Transfer Venue, and Brief in Support

   (the “MGI Motion”) [doc. 5] on April 11, 2019. Briefing on the MGI Motion is closed.2 MPSI

   filed the present Motion on June 5, 2019. Plaintiff filed his Response in Opposition to the Motion

   (“Response”) [doc. 34] on June 25, 2019. Both motions are set for oral argument on August 8,

   2019.

           2.       In the Motion, MPSI first moved to dismiss Plaintiff’s claims against MPSI because

   he failed to exhaust his administrative remedies. MPSI’s argument is simple: although MPSI

   employed Plaintiff, he did not name it as a respondent in his DOL Complaint. His failure to do so

   deprives the Court of jurisdiction and/or means that he has failed to state a claim against MPSI

   upon which relief may be granted. Plaintiff argues that (1) he was not required to expressly name

   MPSI in order to exhaust his administrative remedies, because his DOL Complaint gave “sufficient

   notice,” or (2) he should be excused because he did not have an “opportunity” to exhaust his

   remedies with respect to MPSI. The authority Plaintiff cites does not support these conclusions; to

   the contrary, his leading case (and the cases cited in the Motion) make clear that Plaintiff’s failure

   to at least name MPSI in the body of the DOL Complaint means he failed to exhaust his remedies,




   1 Terms defined in the Motion have the same meaning herein.
   2 Plaintiff filed his Response in Opposition to All Defendants’ Jurisdictional Motions [doc. 19] on May 15, 2019.
   MGI filed its Reply [doc. 24] on June 5, 2019. Plaintiff filed his Sur-Reply [doc. 32] on June 24, 2019.



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   and that the Court must dismiss his claims.

           3.       Alternatively, MPSI moved to transfer the case to the Northern District of Texas,

   or to the Sherman Division of this District, pursuant to 28 U.S.C. § 1404(a), for the reasons already

   articulated in the MGI Motion. Plaintiff’s primary argument in response – that Texarkana is

   geographically closest to many members of his laundry list of fact witnesses – does not address

   the question of convenience, which is the single most important factor in the analysis, and plainly

   favors either alternative venue over Texarkana. If the Court does not dismiss Plaintiff’s claims

   against MPSI, it should transfer this case.

                                  ARGUMENT AND AUTHORITY

           The Court should grant the Motion for the following reasons:

   A.      Plaintiff admittedly failed to name MPSI as a respondent, and his excuses for not
           doing so are legally invalid. He failed to exhaust, and the Court must dismiss.

           4.       The relevant section of SOX requires an employee who alleges discharge in

   violation of SOX to seek relief by “filing a complaint with the Secretary of Labor” or “if the

   Secretary has not issued a final decision within 180 days of the filing of the complaint . . . bringing

   an action at law or in equity for de novo review in the appropriate district court of the United

   States.” 18 U.S.C. § 1514A(b)(1)(A). A DOL complaint must be filed within 180 days of the

   alleged violation,3 and “an employee who believes that he or she has been retaliated against by a

   covered person in violation of the Act may file, or have filed on the employee’s behalf, a complaint

   alleging such retaliation.” 29 C.F.R. § 1980.103(a) (emphasis added). OSHA is the agency with

   the DOL’s delegated authority to receive such complaints. 29 C.F.R. § 1980.103(c). Under

   Wallace v. Tesoro Corp., 796 F.3d 468, 475 (5th Cir. 2015), there is no longer any dispute that this

   is a jurisdictional exhaustion requirement. Plaintiff agrees. [Response at p. 10.]


   3 29 C.F.R. § 1980.103(d).




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          5.      SOX applies to (1) a “company with a class of securities registered under section 12

   of the Securities Exchange Act of 1934,” as well as (2) “any subsidiary or affiliate whose financial

   information is included in the consolidated financial statements of such company” and (3) “any

   officer, employee, contractor, subcontractor, or agent of such company.” 18 U.S.C. § 1514A(a).

   MGI and MPSI are separately “covered persons” under the Act. MGI is a “covered person” under

   the first provision, MPSI is a separate “covered person” under the second, and dismissed

   defendants Gonzalez and Ponder were “covered persons” under the third.

          6.      In support of his contention that “notice to MPSI was sufficient” and that a plaintiff

   may bring a civil action against a covered person not named in his DOL complaint, Plaintiff

   ignores Wallace relies exclusively on Wadler v. Bio-Rad Labs., Inc., 141 F. Supp. 3d 1005, 1010

   (N.D. Cal. 2015), and two Title VII cases cited in that opinion. Read carefully, Wadler actually

   supports the conclusion that Plaintiff’s claims against MPSI are barred. In Wadler, the plaintiff

   filed an administrative complaint in the form of a letter faxed to the Department of Labor:

            The DOL Complaint states that it is a ‘complaint under the Sarbanes-Oxley Act
            against Bio-Rad Laboratories, Inc. in Hercules, California.’ The Complaint goes on
            to state, ‘I was the Executive Vice President, Secretary and General Counsel of Bio-
            Rad until I was terminated on June 7, 2013, by the Chief Executive Officer of the
            corporation, Norman Schwartz, for engaging in whistleblowing activities.’

   Wadler, 141 F. Supp. 3d at 1010. That is, Schwartz was not named as a respondent, but was

   referenced by name in the body of the complaint.

          7.      Well after the 180-day limitations period expired, the plaintiff amended his

   administrative complaint to “clarify that he sought relief from both Bio-Rad and the members of

   its Board of Directors individually – not just against the Company itself. . . . He stated in the

   Motion to Amend that although it might not be necessary to amend the complaint because the

   Board Members were ‘sufficiently identified’ in the original DOL Complaint, he sought to do so




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   ‘in an abundance of caution to ensure that he was able to obtain full relief against the persons who

   actually made the decision to retaliate against him by terminating his employment.’” Id. at 1011.

           8.       The plaintiff then exercised his “kick out” option and filed a civil action, naming

   the company and all of its board members (including Schwartz) as defendants. Schwartz moved to

   dismiss, relying on the Bozeman and Hanna cases cited in the Motion, among other authority. The

   court denied his motion, reasoning that being mentioned in the body of the complaint was

   sufficient.4 The “non-Schwartz” members of the board, named only in the amended administrative

   complaint, also moved to dismiss, because the plaintiff “did not add these defendants to his

   administrative complaint until after the 180-day limitations period had expired[.]” Id. at 1019-

   1020. The plaintiff argued “that his claims are timely as to all of the individual defendants because

   the original DOL Complaint was sufficient to exhaust his claims as to all of those defendants.” Id.

   at 1020. The court rejected that argument and held that:

            even under the liberal pleading standard that applies to administrative complaints, the
            original DOL Complaint did not give the remaining members of the Board fair notice
            that they would be named as individual defendants in this action. Wadler does not cite
            any specific conduct on the part of these individuals that would have put them on
            notice that he was accusing them of retaliatory conduct. . . . Because Wadler did not
            give any Board members except Norman Schwartz fair notice in his original
            administrative complaint . . . the Court concludes that the Sarbanes-Oxley claims
            against all of the individual defendants are untimely.

   Id. at 1021-1022. Thus, even under Wadler, Plaintiff’s claims against MPSI are barred, because it

   is undisputed that he did not name MPSI anywhere in the caption or body of any iteration of his

   DOL Complaint. The only complaint submitted by Plaintiff’s counsel to the Department of Labor

   on September 28, 2017 – 177 days after the last alleged retaliatory action – refers to MGI as the

   only respondent. No other “covered person” is mentioned anywhere in the caption or body of the

   DOL Complaint. [Motion Ex. 2 (doc. 23-2).] He never amended.


   4 The Wallace, Hanna, and Bozeman courts would have reached a different conclusion on the same facts.




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          9.      Next, in the ALJ proceeding, Plaintiff filed two very detailed complaints – an

   Original Complaint and an Amended Complaint. [Motion Ex. 8-9 (doc. 23-8 and 23-9).] As

   discussed in the Motion, MGI is the only named respondent, and, while Plaintiff did mention

   Ponder and Gonzalez in the body of both documents, MPSI is not named. Thus, even if the ALJ

   complaints filed well over 180 days after the last alleged retaliatory act were to somehow “count”

   as amendments to the DOL Complaint, and even if those amendments related back for limitations

   purposes, and even if Wadler applies, rather than Wallace and the other on-point cases cited in the

   Motion, MPSI is in the same position as the non-Schwartz individual defendants in Wadler.

   Plaintiff failed to mention MPSI or allege any bad conduct on its part, even though it is plainly a

   “covered person” under the Act just like the individual defendants were.

          10.     Plaintiff also offers no good reason why the Court should rely upon Wadler and

   ignore Wallace, which is directly on point. The plaintiff in Wallace argued that SOX “contains no

   exhaustion requirement and that, to the contrary, merely filing a charge with OSHA that triggers

   an investigation is enough to permit a future district-court filing that is not limited in scope.”

   Wallace, 796 F.3d at 475. That is also what Plaintiff wants to do – proceed on a district court filing

   that is outside the scope of his DOL Complaint. In Wallace, the greater “scope” was in terms of

   unalleged protected activities rather than unidentified covered persons, but that is a distinction

   without a difference. The Fifth Circuit held that there is an exhaustion requirement, and that “it

   would thwart the administrative scheme to allow plaintiffs to sue on claims that the agency never

   had the chance to investigate and attempt to resolve.” Id. at 475. Because Plaintiff never gave the

   Department of Labor the chance to investigate his claims against MPSI, under Wallace, those

   claims are now barred.




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            11.      Plaintiff also fails to distinguish Bozeman v. Per-Se Technologies, Inc., 456

   F. Supp. 2d 1282 (N.D. 2006) and Hanna v. WCI Comms., Inc., No. 4-80595-CIV, 2004 WL

   6072492 (S.D. Fla. Nov. 29, 2004). Those plaintiffs brought civil actions against covered persons

   who were mentioned in the body of their respective DOL complaints. The Bozeman court held that

   “the Plaintiff never provided OSHA with an opportunity to issue a final decision within 180 days

   of his filing his administrative complaint as to the claims he raises against [the two individuals]

   because he failed to specifically name them in the heading of his administrative complaint.”

   Bozeman, 456 F. Supp. 2d at 1358. Plaintiff urges the Court to disregard these cases because they

   “assume that complaint filed in an administrative pleading must meet the same pleading

   requirements as a complaint filed in federal court.” [Response at p. 16.] That reasoning appears

   nowhere in either opinion. The point made by both courts is that even if naming a covered person

   in the body of a DOL complaint is enough to put the covered person “on notice” for exhaustion

   purposes, as the Wadler case suggests, failing to specifically identify a covered person as a

   respondent means that OSHA is never put on notice that it is supposed to investigate that person’s

   activities. Bozeman, 456 F. Supp. 2d at 1358 (quoting Hanna, 2004 WL 6072492, at *7). Plaintiff

   cites no authority holding that merely referring to MPSI in the body of his DOL complaint would

   have put OSHA on notice. But it hardly matters. As discussed above, Plaintiff never referred to

   MPSI in the body of the DOL Complaint. Thus, even if Bozeman and Hanna applied too strict of

   a standard, avoiding them does not help Plaintiff’s case.5 The answer to the pending question is


   5 Plaintiff’s only other argument, that the DOL complaint against MGI was sufficient to exhaust his remedies vis-à-
   vis MPSI, is a seeming “throwaway” in his fact section, and is rooted in what Plaintiff acknowledges is outdated law.
   The provision of SOX discussed above, in which it is made clear that parents, subsidiaries, and employees are all
   separately “covered persons” subject to liability, was enacted in 2010. [See Response at p. 7.] Prior to that, there was
   some question regarding whether non-public subsidiaries were even subject to liability under SOX, and Plaintiff
   observes that some administrative law judges found that if “the parent company and its wholly-owned subsidiary were
   so intertwined as to represent one entity,” the subsidiary was subject to liability. Congress resolved the uncertainty in
   2010 and, in any event, MPSI does not dispute that it is a non-public subsidiary of MGI or that it is a “covered person”
   under SOX. However, none of that has anything to do with “whether MPSI and MGI are substantially identical entities



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   clear: yes, Plaintiff was required to name MPSI as a respondent or at least in the body of his DOL

   Complaint in order to exhaust his remedies.

   B.      Plaintiff had an “opportunity” to exhaust his remedies against MPSI.

           12.      As a last gasp, while Plaintiff concedes the exhaustion requirement and his failure

   to abide by it, he argues that “there was no opportunity to exhaust” because “OSHA dismissed

   Plaintiff’s complaint within roughly two weeks of its filing. Because OSHA conducted no

   investigation and conciliation process here, there was no opportunity to exhaust the administrative

   process and separately name MPSI.” [Response at p. 8.] Hardly. Plaintiff did not learn of MPSI’s

   existence for the first time after he filed this civil action; it was his employer and was identified as

   such in the offer letter he received and accepted in 2016. [MGI Motion Ex. 1 (doc. 5-1).] Plaintiff’s

   “opportunity” to exhaust came when he elected not to name MPSI in the caption or the body of his

   DOL Complaint. He could have amended his DOL Complaint to add MPSI before OSHA

   dismissed it (he would have had to act quickly, given that he filed on day 177 of the 180-day

   limitations period). He chose not to do so.

   C.      The Northern District and the Sherman Division are “clearly more convenient;” if the
           Court does not dismiss, it should transfer.

           13.      If the Court does not dismiss Plaintiff’s claims against MPSI, it should nonetheless

   exercise its discretion to transfer the claims to either the Northern District of Texas, or to the

   Sherman Division of this District. Plaintiff does not dispute MPSI’s contentions and arguments

   that: (1) the case could have been brought in the Northern District or in the Sherman Division;

   (2) the relevant standard is whether one of those venues is “clearly more convenient” than the

   Texarkana Division; and (3) the Court must make its determination by applying the “public and




   for purposes of notice of the underlying DOL charges” [Response at p. 8] or whether (or what amount) of “notice” is
   sufficient to exhaust remedies against an unnamed covered person.



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   private interest factors” articulated in In re Radmax, Ltd., 720 F.3d 285 (5th Cir. 2013), and In re

   Volkswagen of Am., Inc., 545 F.3d 304 (5th Cir. 2008), among many other cases.6

            14.      No one factor is dispositive, but “the convenience of the witnesses is probably the

   single most important factor in a transfer analysis.” Durrett, 2018 WL 5630521, at * 3 (citing

   cases). Regarding the public factors, “the traditional deference afforded to plaintiff’s choice of

   forum . . . is less for intra-district transfers. This is especially true when there is no nexus between

   the plaintiff’s choice of forum and the parties, witnesses, or facts of the case.” Id. at *4 (quoting

   Radmax, 720 F.3d at 290). Courts are “ill-advised to deny transfer where only the plaintiff’s choice

   weighs in favor of denying transfer and where the case has no connection to the transferor forum

   and virtually all of the events and witnesses giving rise to the case are in the transferee court.” Id.

            15.      As Plaintiff conceded in briefing on the MGI Motion, the citizens of Texarkana

   have no “local interest” in the resolution of this dispute. [Response to MGI Motion at p. 17.] By

   contrast, MPSI has introduced uncontroverted evidence that: (1) it is headquartered in Dallas, as

   is MGI, the only other remaining defendant; (2) MPSI maintains its personnel records for all

   offices in Dallas, as does MGI; (3) Plaintiff worked for MPSI in its Frisco, Texas, office, which is

   within the Sherman Division, and was informed of his termination there; and (4) MPSI has no

   office or employees within the Texarkana Division. [Motion at p. 3 and Ex. 1.] This undisputed

   evidence all weighs in favor of transfer: for willing witnesses (e.g., current MPSI employees at its

   Dallas headquarters or its Frisco office, including three who were deposed during the




   6 The private factors are “(1) the relative ease of access to sources of proof; (2) the availability of compulsory process
   to secure the attendance of witnesses; (3) the cost of attendance for willing witnesses; and (4)all other practical
   problems that make trial of a case easy, expeditious and inexpensive.” The public factors are “(1) the administrative
   difficulties flowing from court congestion; (2) the local interest in having localized interests decided at home; (3) the
   familiarity of the forum with the law that will govern the case; and (4) the avoidance of unnecessary problems of
   conflict of laws of the application of foreign law. Durrett v. Walmart, Inc., No. 2:18-CV-00332-JRG, 2018
   WL 5630521, at * 2 (E.D. Tex. Oct. 31, 2018).



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   administrative proceeding, and two more identified by Plaintiff as having relevant knowledge), the

   relative cost of attendance is lower if trial is held Dallas or Sherman than in Texarkana; to the

   extent MGI and MPSI’s personnel records are relevant, they are in Dallas; to the extent documents

   at MPSI’s Frisco office are relevant, they are much easier to access from Dallas or Sherman than

   from Texarkana; and, of course, there is a local interest in both the Northern District and the

   Sherman Division.7

             16.     Plaintiff also has identified more than three dozen “likely witnesses” living out of

   state whom he claims have “knowledge of relevant facts,” and whom he apparently presumes will

   willingly travel to Texas to testify on his behalf.8 Plaintiff relies on that presumption to avoid

   transfer; without it, he has no “private factor” argument to make. In particular, Plaintiff argues that

   “it cannot be seriously disputed that for the witnesses located in the Midwest, along the Eastern

   seaboard, and in the Georgia-Florida area, Texarkana is geographically closer than Sherman.

   Therefore, this factor weighs significantly in favor of maintaining venue here.” [Response at

   p. 19.]

             17.     That is simply wrong. To take just a few examples, there are dozens of daily non-

   stop flights from New York, Atlanta, and Chicago, to DFW Airport.9 Plaintiff indicated in prior

   briefing that “experienced air travelers to Texarkana from the East Coast are aware that the shortest



   7 Plaintiff is hyper-focused on his belief that this is not a document-intensive case, and that some of MPSI’s documents
   are in Gonzalez’s office in Florida or stored on email servers in Minnesota. That may be true, but misses the point. To
   the extent that there are relevant MPSI documents, they are mostly in Dallas or Frisco (and none of them are in
   Texarkana).
   8 In particular, Plaintiff has identified fact witnesses living in Alabama, Arizona, Arkansas, Connecticut, Florida,
   Georgia, Idaho, Illinois, Maryland, Michigan, Minnesota, Missouri, New Jersey, New York, Pennsylvania, Rhode
   Island, and South Dakota, including multiple witnesses in most of those states, as well as witnesses in Canada and the
   United Kingdom. [Response to MGI Motion at pp. 11-14.]
   9 The Court may take judicial notice of this fact, and undersigned counsel represents to the Court that a search of
   Google Flights for non-stop flights from New York to Dallas, departing on July 26, 2019, revealed 36 choices; 26
   from Atlanta to Dallas; and 23 from Chicago to Dallas. Southwest Airlines offers another 18 non-stop flights into
   Dallas Love Field from those cities. There is no nonstop service from any of those cities to Texarkana.



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   distance to Texarkana from the East Coast is through the Shreveport, Louisiana Regional Airport.”

   [Response to MGI Motion at p. 14.] Perhaps so, but “what’s the quickest way to Texarkana” is not

   the question. The question is convenience of the various venues. Taking a flight from New York

   to Atlanta to Shreveport and then driving “78 miles from the Shreveport airport to the Texarkana

   courthouse” is clearly less convenient than flying non-stop to DFW and driving 18 miles to the

   courthouse in Dallas or 25 miles to the courthouse in Plano, even if Texarkana is marginally

   “geographically closer” (as the crow flies) to some witnesses.

            18.      Plaintiff’s only other argument against transfer is “judicial economy.” Plaintiff

   relies on apples-to-oranges data showing the number of civil actions filed in each division in 2019

   but ignoring the differing number of judgeships. [Reply in Support of MGI Motion at p. 9.]

   Plaintiff has offered no additional evidence, other than a copy of a lawsuit filed against MGI in

   January, which MGI has moved to dismiss, but he has cited no authority for the proposition that

   pending litigation elsewhere is a factor to be considered.10 He has introduced a new argument that

   the court congestion factor is important because “the speed with which Plaintiff gets to trial is

   uniquely important here” because MGI’s stock is trading at a “perilously low” price. [Response at

   p. 6.]11 Plaintiff has offered no authority in support of his contention that his apparent worries

   about MGI’s stock price have any legal bearing on whether the Court should exercise its discretion

   to transfer Plaintiff’s claims against MPSI to a different venue.




   10 The Court may take judicial notice of Defendants’ Motion to Dismiss [doc. 62] and Memorandum in Support of
   Motion to Dismiss [doc. 63], filed on May 16, 2019, in Chew, et al. v. MoneyGram International, Inc., et al., Case
   No. 1:18-cv-07537, in the United States District Court for the Northern District of Illinois, Eastern Division. For the
   reasons stated in those documents, MGI contends that the claims in the lawsuit are utterly lacking in merit.
   11 It is curious that Plaintiff now insists that “time is of the essence.” The ALJ proceeding was initially set for final
   hearing in August 2018. Plaintiff sought and obtained a continuance until January 2019. On the eve of that hearing,
   he filed another motion and requested a continuance until June 2019. A week after obtaining that relief, he announced
   his intention to exercise the “kick out” and demand a do-over in this court, causing further delay.



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                                             CONCLUSION

          For the foregoing reasons and those set forth more fully in the Motion, MPSI respectfully

   requests that the Court grant the Motion and dismiss all of Plaintiff’s claims, causes of action, and

   requests for relief pleaded against MPSI with prejudice, or, alternatively, that the Court exercise

   its discretion to transfer the case to the Northern District of Texas, Dallas Division, or to the

   Sherman Division of this District. MPSI additionally requests that the Court grant all other relief,

   general or special, at law or in equity, to which it may be justly entitled.

                                              Respectfully submitted,


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                                     CERTIFICATE OF SERVICE

         The foregoing instrument was filed using the Court’s CM/ECF system on July 1, 2019,
   which will transmit a copy to all counsel of record.


                                                     /s/ John M. Barcus
                                                    JOHN M. BARCUS


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   DEFENDANT MPSI’S REPLY IN SUPPORT OF ITS MOTION TO DISMISS                                   Page 11
